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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     )
                                             )
              v.                             )       Criminal No: 24-cr-10121-ADB
                                             )
                                             )
DANIEL LOUGHMAN, et al.,                     )
                                             )
       Defendants.                           )

                                  JOINT STATUS REPORT

       Pursuant to Local Rule 116.5(a), the parties hereby file the following status report prepared

in connection with the status conference scheduled for December 3, 2024.

(1)    Automatic Discovery/Pending Discovery Requests
       The Government has provided automatic discovery. The defendants are reviewing the
       discovery materials and deciding whether they will make additional discovery requests.

(2)    Additional Discovery
       The Government anticipates providing additional discovery, including discovery from
       individual recordings. The government does not anticipate providing further discovery,
       aside from the above-mentioned items, at this juncture, in the absence of a particular
       request by the defendant.

(3)    Timing of Additional Discovery Requests
       At this time, the government anticipates providing the additional discovery, including
       discovery from the above-mentioned items, within the next 30 days.

(4)    Protective Orders
       Assented-to protective orders have been submitted by the parties.

(5)    Pretrial Motions
       It is premature to decide whether the Defendant will file any pretrial motions under Fed.
       R. Crim. P. 12(b).
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(6)    Expert Discovery
       The parties are still negotiating the ultimate deadlines for expert disclosures, the
       Government has proposed: that the government agrees to provide any expert witness
       disclosures 21 days prior to trial and that the Defendant agrees to provide any expert
       witness disclosures 14 days prior to trial.

(7)    Speedy Trial Act
       All of the time has been excluded from the defendant=s initial appearance/arraignment
       through the date of the initial status conference scheduled for December 3, 2024. The
       parties request that the time be excluded until the interim status conference.

(8)    Next Status Conference
       Given all of the foregoing information, the parties request that the initial status conference,
       scheduled for December 3, 2024, be canceled. The parties request an interim status
       conference in approximately 30 to 45 days.

                                                      Respectfully submitted,

                                                      JOSHUA S. LEVY
                                                      United States Attorney

                                              By:     /s/ John T. Dawley, Jr._______
                                                      Assistant U.S. Attorney


Joined by:
Daniel J. Cloherty, Esq.                              Jason Benzaken, Esq.
One Financial Center, Suite 1120                      1342 Belmont Street, Suite 102
Boston, MA 02110                                      Brockton, MA 02301
Counsel to Daniel Loughman                            Counsel to Danielle Steenbruggen

Thomas Kerner, Esq.                                   Sarah E. Walters, Esq.
240 Commercial Street, Suite 5A                       Ropes & Gray LLP
Boston, MA 02109-138                                  Prudential Tower, 800 Boylston Street
Counsel to James Adams                                Boston, MA 02199-3600
                                                      Counsel to James Snow


Dated: December 2, 2024
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                               CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing upon all counsel of
record by electronic filing notice.
                                                     /s/ John T. Dawley, Jr._______
                                                     Assistant U.S. Attorney
Dated: December 2, 2024
